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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK

     JEREMIAH BUCKLEY,

                           Plaintiff,
                                                       No. 1:19-cv-01683 (JLC)
            -against-

     THE METROPOLITAN TRANSPORTATION
     AUTHORITY; MTA Police Officer STEPHEN
     MEARS, Shield #764; and MTA Police Officer
     DANILO RODRIGUEZ, Shield # 2096,

                           Defendants.



                                    JOINT PRETRIAL ORDER

          Pursuant to Federal Rule of Civil Procedure 16 and this Court’s Individual Practices and

Rules, the parties, having conferred with each other, adopt the following as the Pre-Trial Order

herein:

I.        CAPTION

          Buckley v. Metropolitan Transportation Authority, et al., No. 19-cv-01683 (JLC)

II.       PARTIES AND COUNSEL

          The names, addresses, email addresses, telephone and fax numbers of trial counsel are as

follows:

          For Plaintiff:

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          New York, NY 10020
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          Cell Phone: 917-842-0055 (D. Berman)
          Fax No.: 212-763-5001

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          Email: krosenfeld@ecbawm.com
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          For Defendants:

          Steve S. Efron (Lead Counsel)
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          Email: rlcyr@aol.com

III.      JURISDICTION

          The Court’s jurisdiction over the subject matter of this action is predicated on 28 U.S.C.

§§ 1331 and 1343(a)(3) because the action arises under 42 U.S.C. § 1983. Venue is proper in this

district pursuant to 28 U.S.C. § 1391(b), as this is the judicial district in which the claims arose

and in which Mr. Buckley currently resides, and in which the defendant Metropolitan

Transportation Authority and the individual defendants conduct their business.


IV.       CLAIMS AND DEFENSES

       A. Claims to Be Tried

                     1. 42 U.S.C. § 1983 Claim under the Fourth and Fourteenth Amendments for
                        Excessive Force against Defendants Mears and Rodriguez for their
                        conduct when they assaulted Jeremiah Buckley on February 24, 2018
                        during his arrest (Complaint, First Cause of Action).

                     2. 42 U.S.C. § 1983 Claim under the Fourth and Fourteenth Amendments for False
                        Arrest against Defendants Mears and Rodriguez for their conduct when
                        they arrested Jeremiah Buckley on February 24, 2018 at approximately
                        12:10 a.m.(Complaint, Second Cause of Action).


                     3. New York State Common Law False Arrest against all Defendants for the
                        conduct of Defendants Mears and Rodriguez when they arrested Jeremiah

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                 Buckley on February 24, 2018 at approximately 12:10 a.m.(Complaint,
                 Fourth Cause of Action).

              4. New York State Common Law Malicious Prosecution against Defendant
                 Mears and Defendant MTA for the conduct of Defendant Mears when
                 Mears filed criminal charges against Jeremiah Buckley on February 25,
                 2018 until such time as those charges were dismissed on April 23, 2018.
                 (Complaint, Fifth Cause of Action).

              5. New York State Common Law Assault against all Defendants for the
                 conduct of Defendants Mears and Rodriguez when they assaulted
                 Jeremiah Buckley on February 24, 2018 during his arrest (Complaint,
                 Sixth Cause of Action).

              6. New York State Common Law Battery against all Defendants for the
                 conduct of Defendants Mears and Rodriguez when they arrested Jeremiah
                 Buckley on February 24, 2018 (Complaint, Seventh Cause of Action).


B. Claims That Will Not Be Tried:

              1. 42 U.S.C. § 1983 Claim under the Fourth and Fourteenth Amendments for
                 Malicious Prosecution (Complaint, Third Cause of Action)

              2. New York State Common Law Malicious Prosecution against Defendant
                 Rodriguez (Complaint, Fifth Cause of Action)


C. Defendants’ Defenses that Remain to be Tried (subject to a ruling on defendants’
   pending motion for partial summary judgment):

              1. The defendant police officers, Stephen Mears and Danilo Rodriguez, had
                 probable cause to arrest Jeremiah Buckley on charges of disorderly
                 conduct (NY Penal Law § 240.20[5]), resisting arrest (PL § 205.30),
                 attempted assault in the third degree (PL §§110/120.00[1]), and
                 harassment in the second degree (PL § 240.26[1]). While not asserted in
                 the accusatory instrument as a basis for the arrest, the officers also had
                 probable cause to arrest Buckley on a charge of disorderly conduct under
                 NY Penal Law § 240.20(3).

              2. The defendant police officers, even if lacking probable cause to arrest
                 Buckley, had arguable probable cause to effectuate an arrest and thus are
                 entitled to qualified immunity from suit.




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                       3.   The prosecution of Buckley was initiated by Officer Stephen Mears in
                            good faith, in consultation with a prosecuting attorney, predicated on
                            probable cause for the arrest.

                       4. Officers Mears and Rodriguez employed no more force than was
                          necessary to effectuate Buckley’s arrest and take him into custody.
                          Injuries claimed by Buckley to have been sustained due to the officers’
                          alleged use of excessive force were sustained elsewhere in a manner and at
                          a time unrelated to the arrest.


V.      DAMAGES

        For Plaintiff’s claims for excessive force, assault, and battery, he seeks (1) compensatory

damages for pain and suffering and physical injuries, inter alia, a broken rib (7th), a punctured

lung causally related to the rib fracture, knee pain, and headaches; (2) compensatory damages for

garden variety emotional distress.

        For Plaintiff’s claims for false arrest and malicious prosecution, he seeks (1)

compensatory damages for garden variety emotional distress; and (2) loss of liberty damages

(false arrest only).

        Plaintiff also seeks punitive damages against Defendants Mears and Rodriguez.

VI.     JURY TRIAL AND NUMBER OF TRIAL DAYS NEEDED

        This case will be tried before a jury. The parties estimate that three to five trial days will

be necessary. Plaintiff would consent to a non-unanimous verdict. Defendants do not consent to

a non-unanimous verdict.

VII.    STIPULATIONS

        The parties have stipulated, as so ordered by the Court, that:
        1. Stipulation with respect to emotional distress damages:

                a. Plaintiff’s claim for emotional distress damages is limited to “garden variety”
                   emotional distress damages as defined in Simms v. Blott, 534 F.3d 117 (2d
                   Cir. 20008) (“Simms”) and cases applying the standard announced in Simms;


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                  b. Plaintiff will not offer at trial or on a dispositive motion any expert
                     psychiatric, psychological or medical testimony or records to support his
                     claims of emotional distress; nor will Plaintiff offer any testimony of a
                     diagnosis of a mental disorder, or the treatment (or need for treatment) of a
                     mental disorder, or the symptoms of a mental disorder that exceed “garden
                     variety” emotional distress as defined in Simms and cases applying the
                     standard announced in Simms;

                  c. The parties shall submit to the trial court for resolution, in limine or during the
                     course of the trial, any dispute concerning the admissibility or inadmissibility
                     of Plaintiff’s emotional distress evidence under this stipulation. See ECF No.
                     34.

         2. The parties stipulate that, as a matter of law, the Defendants acted under color of state
            law when they arrested Mr. Buckley on February 24, 2018, and took him into custody.

         3. The parties stipulate that Defendants will not seek to introduce evidence of, or
            question Mr. Buckley regarding, prior arrests that did not result in a criminal
            conviction.

         4. The parties stipulate that Defendants will not introduce evidence of, or question Mr.
            Buckley regarding, his diagnosis of bi-polar disorder provided that plaintiff does not
            violate the stipulation limiting his recovery to garden variety emotional distress or
            otherwise raises it first.

         5. The parties stipulate that Plaintiff cannot seek punitive damages against Defendant
            Metropolitan Transportation Authority.

         6. The parties stipulate that Plaintiff will not request a specific amount of damages or
            range of damages in his opening or closing statements to the jury.

         7. Prior to February 24, 2018, Mr. Buckley had previously been incarcerated in
            connection with several non-violent misdemeanor offenses.1




1
 Plaintiff consents to this stipulation only if Defendants’ partial motion for summary judgment is denied. If this
motion is granted, the parties will stipulate that Plaintiff’s misdemeanor convictions are not admissible.

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VIII. WITNESSES

       Each party provides its list of witnesses to be offered in its case-in-chief subject to the

following reservation of rights:

       a.       Each party reserves the right not to offer the testimony of any designated witness.

       b.       Each party reserves the right to offer live or deposition testimony from rebuttal
                witnesses.




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Plaintiff’s Witnesses

    A. Fact Witnesses:

         1. Jeremiah Buckley
            Testimony: Live
            Topic: Mr. Buckley will testify regarding his arrest on February 24, 2018 and his
            subsequent damages.

         2. Dr. Cherisse Berry
            Testimony: Live
            Topic: Dr. Berry will testify regarding her treatment of Mr. Buckley at Bellevue
            Hospital on February 24-25, 2018.

         3. Eric Pilch
            Testimony: Live
            Topic: Mr. Pilch will testify regarding his impression of Mr. Buckley’s condition at
            Mr. Buckley’s arraignment of February 25, 2018 and about the criminal proceedings
            against Mr. Buckley prior the dismissal of all charges.23

         4. Timothy Harten (Rebuttal Witness)
            Testimony: Live
            Topic: Mr. Harten would be called as a rebuttal witness in the event that Defendants
            testify that an MTA internal investigation found that they used appropriate force
            when arresting Mr. Buckley.

    B. Expert Witness:

                     1.       Dr. Ronald A. Paynter MD, FACEP, CPE
                              Testimony: Live
                              Topic: Dr. Paynter will testify regarding the likely causation of Mr. Buckley’s
                              injuries and respond to the testimony of Defendants’ expert, Dr. Kevin Brown.




2
  Defendants object to Mr. Pilch’s proposed testimony. Although this witness’s name was included in plaintiff’s
Rule 26 disclosures, the subject matter of his potential discoverable information was limited as follows: “Mr. Pilch
was a law student in the Cardozo criminal defense clinic assigned to Plaintiff’s criminal case. He is believed to have
knowledge of the criminal proceedings resulting from the incident in question.” Defendants object to this witness
offering any testimony other than to his “knowledge of the criminal proceedings.” We seek that any testimony
beyond that be precluded unless the Court permits us to depose Mr. Pilch before trial.

3
  Plaintiff responds that his initial disclosure is consistent with Mr. Pilch’s anticipated trial testimony as testimony
regarding Mr. Buckley’s “criminal proceedings” would include Mr. Pilch’s observations of his client during the
criminal proceedings and anything associated with those proceedings.

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    A. Defendants’ Witnesses45

                    1.       Police Officer Danilo Rodriguez (in person) – Officer Rodriguez will
                             offer testimony concerning the purpose and implementation of the
                             homeless outreach program in Penn Station; the circumstances giving
                             rise to the arrest of plaintiff and the manner in which the arrest was
                             effectuated; and the response to plaintiff’s request for medical care.

                    2.       Police Officer Stephen Mears (in person) – Officer Mears will offer
                             testimony concerning the purpose and implementation of the homeless
                             outreach program in Penn Station; the circumstances giving rise to the
                             arrest of plaintiff and the manner in which the arrest was effectuated;
                             and the response to plaintiff’s request for medical care.

                    3.       Sergeant Timothy Harten (in person) – Sgt. Harten will testify
                             concerning his role as a supervisor assigned on the date of plaintiff’s
                             arrest to the homeless outreach program at Penn Station; retrieval and
                             preservation of the security camera videotape of the incident; and his
                             preparation of a report of the incident.

                    4.       Dr. Timothy Deyer (in person) – Dr. Deyer, an expert radiologist
                             retained by defendants, will testify to his evaluation of imaging studies
                             of plaintiff’s chest, right knee and brain; the value of imaging studies in
                             determining when and how an injury was sustained; and to his opinions
                             concerning what the imaging studies reveal about this plaintiff’s injuries,
                             as set forth in his expert report dated May 18, 2020.




4
  Plaintiff notes that neither Dr. Voleti nor Dr. Perpah was included in Defendants’ Rule 26 disclosures. While both
doctors are listed in Plaintiff’s disclosures as a witness with discoverable information, that does not relieve
Defendants of their obligation to inform Plaintiff during discovery that they would potentially call them as defense
witnesses. Plaintiff also notes that while Dr. Sant is listed in Defendants’ Rule 26 disclosures, the subject of his
testimony was limited to inclusion on a list of doctors stating “The following individuals are likely to have
information concerning plaintiff Buckley’s medical treatment.” Defendants now propose far broader testimony for
Dr. Sant than just Mr. Buckley’s “medical treatment.” However, in the interest of moving this case forward for trial,
Plaintiff will not seek to reopen discovery to depose these witnesses notwithstanding Defendants’ failure to make
proper disclosures pursuant to the Federal Rules.
5
  Defendants, in response to plaintiff’s notes: as the Court knows, the purpose of Rule 26 is to give the other party
notice of who may have information to be explored during discovery. Plaintiff listed all three doctors in their own
Rule 26 statement, which means that plaintiff knew who these doctors were and that they may have information
about plaintiff’s medical condition and hospital visit – defendants did not need to tell them that. At the time we
served our Rule 26 statement we had not even heard of Drs. Peprah or Voleti. As plaintiff identified Dr. Sant in
their own statement, using the same language as we used, there is not even arguable prejudice. Moreover, the
records identifying Dr. Sant and his observations came from plaintiff.

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                 5.      Dr. Kevin Brown (in person) – Dr. Brown, an expert emergency room
                         physician retained by defendants, will testify to his review of medical
                         records and other materials bearing on plaintiff’s pneumothorax and
                         fractured rib; his experience in diagnosing and treating such injuries; and
                         his findings with respect to when and how the injuries were sustained by
                         plaintiff, as set forth in his expert report dated June 11, 2020.

                 6.      Dr. Vivek Sant (in person) – Dr. Sant, a trauma surgeon who attended to
                         plaintiff at Bellevue Hospital shortly after plaintiff’s arrest, will testify
                         concerning the treatment he rendered to plaintiff and the information he
                         recorded in the Bellevue Hospital record concerning when and where
                         plaintiff sustained his injuries.

                 7.      Dr. Emmanuel Peprah (in person) – Dr. Peprah, plaintiff’s primary care
                         physician, will testify to plaintiff’s medical condition – in particular, the
                         condition of plaintiff’s right knee – both before and subsequent to
                         plaintiff’s arrest, and to the treatment that was rendered to plaintiff.

                 8.      Dr. Pramod Voleti (in person) – Dr. Voleti, an orthopedic surgeon, will
                         testify to his treatment of plaintiff’s right knee; the arthroscopic surgery
                         performed on plaintiff’s right knee; plaintiff’s recovery from the surgery
                         and the post-operative condition of his right knee; and findings, if any,
                         made by Dr. Voleti concerning when and how plaintiff sustained an
                         injury to his right knee.



I.     DEPOSITION TESTIMONY

       Plaintiff does not anticipate the need to present deposition testimony instead of live
testimony during his case-in-chief. Plaintiff reserves the right to use deposition testimony for
impeachment purposes, in rebuttal, and to the extent a live witness listed in the pretrial order is
unavailable within the meaning of Fed. R. Civ. P. 32.

         Defendants do not anticipate the need to present deposition testimony instead of live
testimony during their case-in-chief. Defendants reserve the right to use other witnesses’
deposition testimony for impeachment purposes, in rebuttal, and to the extent a live witness
listed in the pretrial order is unavailable within the meaning of Fed. R. Civ. P. 32. Moreover,
plaintiff offered testimony at a N.Y. Municipal Law 50-h hearing on September 13, 2018; at a
N.Y. Public Auth. Law hearing on November 16, 2018; and at a deposition on January 14, 2020.
Defendants reserve the right to use plaintiff’s testimony to the extent permitted by F. Rule Civ.
P. Rule 32.




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IX.      EXHIBITS AND OBJECTIONS

         Each party provides its list of trial exhibits subject to the following reservations of rights:

         a.       Each party reserves the right not to offer any of the exhibits listed below, or to
                  offer all or any portion of an exhibit.

         b.       Each party reserves the right to offer and use any of the exhibits for more than one
                  purpose.

         c.       Each party reserves the right to offer any exhibit designated by any other party to
                  this Pre-Trial Order.

         d.       Each party reserves the right to offer additional exhibits at trial for purposes of
                  impeachment, rebuttal, or rehabilitation, including but not limited to any and all
                  transcripts of depositions conducted in this matter, or any portion thereof.

         e.       Each party reserves the right to use demonstrative aids not listed herein at trial,
                  and will undertake to advise the other parties and the Court of such aids as it
                  intends to use at a reasonable time prior to trial.

         The parties have identified their objections to each other’s exhibits by indicating the

number of the applicable Federal Rule of Evidence in the margin.



         A.       Plaintiff’s Trial Exhibits6

    Exhibit     Description                                                 Bates Number               Objections


                Security Video of Jeremiah Buckley’s                        PL000847-
    PL   1
                February 24, 2018 arrest.                                   PL000852

    PL   2      Jeremiah Buckley Certificate of Disposition                 PL2478

                Jeremiah Buckley 2/24/2018 Pre Hospital                     PL000009,
    PL   3
                Care Summary Report                                         PL0000014-15

                Jeremiah Buckley records from Bellevue                      PL000089-
    PL   4      Hospital, 2/24/2018-2/25/2018                               PL000207,
                                                                            PL2372-PL2390

6
 Plaintiff has filed a motion in limine to preclude any all evidence related to his prior criminal convictions and his
history of substance abuse. Should Plaintiff prevail on his motion, all such references will be redacted from
Plaintiff’s proposed exhibits.

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            Jeremiah Buckley records from Montefiore       PL000348-
PL   5
            Hospital, 12/7/2018                            PL000480

            Jeremiah Buckley records from College Point    PL002336-
PL   6
            Urgent Care, 2/26/2018                         PL002343

            Statement from Officer Stephen Mears to Sgt.   MTA000224
PL   7      Timothy Harten re: Arrest of Jeremiah
            Buckley, dated 2/26/2018

            Statement from Officer Danilo Rodriguez to     MTA000222
PL   8      Sgt. Timothy Harten re: Arrest of Jeremiah
            Buckley, dated 2/26/2018

            MTA Operational Order # 18-01                  MTA000004-
PL   9
                                                           MTA000014

            MTA Police Department Incident Report re:      MTA000117-
PL   10
            arrest of Jeremiah Buckley , 2/24/2018         MTA000128

            Suicide Prevention Screening Guidelines        MTA000033
PL   11
            Form, 2/24/2018

            Officer Stephen Mears Memo Book                MTA000037-
            2/23/2018-2/25/2018                            MTA000039 and
PL   12
                                                           MTA000225-
                                                           MTA000227.

            Officer Danilo Rodriguez Memo Book             MTA000040-
PL   13
            2/23/2018-2/24/2018                            MTA000042

            Prisoner Property Inventory Form, Jeremiah     MTA000054-
PL   14
            Buckley, 2/24/2018                             MTA000055

            MTA Police Department Incident History         MTA000094-
PL   15
            Detail 2/24/2018-2/26/2016                     MTA000096

            MTA Police Department Daily Deployment,        MTA000097-
PL   16
            District 4, 2/23/2018                          MTA000099

            MTA Police Department Incident Report re:      MTA000100
PL   17
            arraignment of Jeremiah Buckley , 2/25/2018

PL   18     Jeremiah Buckley Complaint signed by           MTA 000219-
            Officer Stephen Mears including fax cover

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          sheet to ADA Bergamo                           MTA000221

          Sgt. Timothy Harten Memo to Inspector          MTA000060
PL   19   Swarenndra Jatindranath re: arrest of
          Jeremiah Buckley.

          Jeremiah Buckley Text/Facebook Message         PL000810-         FRE 801
PL   20
          Conversation                                   PL000811

          Jeremiah Buckley Text/Facebook Message         PL000838
Pl   22
          Conversation




     B.    Defendants’ Trial Exhibits

Exhibit       Description                                Bates Number      Objections


              Rules and Regulations Governing            MTA 000001-3
DEF A         Conduct and Safety of Public and Use of
              the LIRR Terminals, Stations, and Trains

              Operational Order # 18-01 (Homeless        MTA 000004-13
DEF B
              Assistance Program)

              Security Camera Videotape of February      PL 000847-852
DEF C
              24, 2018 Police Encounter

              Misdemeanor Complaint Executed by          MTA 000056-57
DEF D
              Officer Mears

              Memo Book Entries Officer Rodriguez        Pl’s Dep. Ex. 6
DEF E                                                    [TO BE
                                                         BATETAMPED

              Memo Book Entries Officer Mears            MTA 000037-39,
DEF F
                                                         MTA000225-
                                                         MTA000227.
DEF G         MTA Police Dept. Incident Report           MTA 000117-28     FRE 403,
                                                                           404, 609


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                                                                (MTA
                                                                000121
                                                                only)

           MTA Police Dept. Incident Report     MTA 000100
DEF H
           (Arraignment)

           MTA Police Dept. Incident Report     MTA 000101-02   FRE 403,
DEF I
           (criminal history check)                             404, 609

           Medical Treatment of Prisoner Form   MTA 000086      FRE 801,
DEF J
                                                                805

DEF K      MTA Use of Force Instruction         MTA 000015-19

           Buckley Social Media                 PL000810        FRE 106,
DEF L
           Posting/Communication                                801

           Buckley Social Media                 PL000815        FRE 403,
DEF M
           Posting/Communication                                404, 801

           Buckley Social Media                 PL000817        FRE 403,
DEF N
           Posting/Communication                                404, 801

           Buckley Social Media                 PL000820        FRE 403,
DEF O
           Posting/Communication                                404, 801

           Buckley Social Media                 PL000842        FRE 801
DEF P
           Posting/Communication

           VCU Medical Center Records           PL2392-2457     FRE 403,
                                                                404 (only
                                                                with respect
                                                                to
                                                                references
                                                                to
DEF Q                                                           Plaintiff’s
                                                                history of
                                                                substance
                                                                abuse or
                                                                mental
                                                                health
                                                                diagnosis)


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           College Point Urgent Care Records   PL002336-43          FRE 403,
                                                                    404 (only
                                                                    with respect
                                                                    to
                                                                    references
                                                                    to
DEF R                                                               Plaintiff’s
                                                                    history of
                                                                    substance
                                                                    abuse or
                                                                    mental
                                                                    health
                                                                    diagnosis)

           Bellevue Hosp. Center Records       PL000005-000222      FRE 403,
                                               (Berry Dep. Ex. 1)   404 (only
                                                                    with respect
                                                                    to
                                                                    references
                                                                    to
DEF S                                                               Plaintiff’s
                                                                    history of
                                                                    substance
                                                                    abuse or
                                                                    mental
                                                                    health
                                                                    diagnosis)

           Dr. Emmanuel Peprah Medical Chart   MTA 000129-          FRE 403,
                                               000218               404 (only
                                                                    with respect
                                                                    to
                                                                    references
DEF T                                                               to
                                                                    Plaintiff’s
                                                                    history of
                                                                    substance
                                                                    abuse or
                                                                    mental
                                                                    health



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                                                                      diagnosis

              Montefiore Hospital Record          PL000223-792        FRE 403,
                                                                      404 (only
                                                                      with respect
                                                                      to
                                                                      references
                                                                      to
DEF U                                                                 Plaintiff’s
                                                                      history of
                                                                      substance
                                                                      abuse or
                                                                      mental
                                                                      health
                                                                      diagnosis

              NYU Langone Record                  PL001273-           FRE 403,
                                                  PL001385 + NYU      404 (only
                                                  Report pages 115-   with respect
                                                  125 (not Bates
                                                                      to
                                                  stamped)
                                                                      references
                                                                      to
DEF V                                                                 Plaintiff’s
                                                                      history of
                                                                      substance
                                                                      abuse or
                                                                      mental
                                                                      health
                                                                      diagnosis

    . W-1   (Imaging studies                      (Not Bates
DEF through reviewed by Dr. Deyer)                Stamped)
    W-11

              Mt Sinai Beth Israel Records        PL2458-2478          FRE 403,
                                                                       404 (only
                                                                      with respect
DEF X                                                                      to
                                                                       references
                                                                           to
                                                                       Plaintiff’s
                                                                       history of

                                             15
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                                                                                        substance
                                                                                         abuse or
                                                                                          mental
                                                                                          health
                                                                                        diagnosis



X.     Statement of Damages Claimed

       For Plaintiff’s claims for excessive force, assault, and battery, he seeks (1) compensatory

damages for pain and suffering and physical injuries, inter alia, a broken rib (7th), a punctured

lung causally related to the rib fracture, knee pain, and headaches; (2) compensatory damages for

garden variety emotional distress.

       Plaintiff seeks punitive damages against Defendants Mears and Rodriguez.

       Plaintiff also seeks attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.

XI.    Joint Statement Summarizing the Nature of the Case

       Jeremiah Buckley brought this lawsuit against Defendants Stephen Mears and Danilo

Rodriguez—both Metropolitan Transportation Authority Police Officers, as well at the MTA.

Mr. Buckley alleges that Defendants violated his rights when they arrested him without probable

cause on February 24, 2018. Mr. Buckley also alleges that Defendants used excessive force

against him during the course of their arrest. Mr. Buckley alleges that Defendants violated his

rights under the United States Constitution and New York state law. Mr. Buckley alleges that he

suffered multiple physical injuries from the officer’s excessive force and suffered emotional

distress from this arrest. The Defendants maintain that there was probable cause for Mr.

Buckley’s arrest, that they used no more force than was necessary to bring Mr. Buckley into

custody, and that their conduct did not violate Mr. Buckley’s constitutional or civil rights.




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       Pursuant to the Court’s Individual Practices, the parties will submit their joint proposed

voir dire questions, jury instructions, and verdict form, as well as their respective motions in

limine, under separate cover.


Dated: February 26, 2021
New York, New York



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 Attorney for Defendants




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